Case 1:12-cr-00257-HYJ        ECF No. 853, PageID.4791          Filed 10/07/15    Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                    Case No. 1:12-CR-257 (16)

v.                                                          HON. ROBERT HOLMES BELL

FREDERICK MAY,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

        Defendant Frederick May was sentenced on July 16, 2014, to a term of custody of 33

months following the granting of a variance request by the defendant. The 33-month sentence

was below the original guideline range of 37 - 46 months.

       Defendant May has filed a motion for modification or reduction of sentence (ECF No. 813)

pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States Sentencing

Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.
Case 1:12-cr-00257-HYJ          ECF No. 853, PageID.4792           Filed 10/07/15      Page 2 of 2




       The Probation Department filed a sentence modification report on July 17, 2015 (ECF No.

819). In its report, the probation department recommends a reduction in sentence to 27 months.

       The defendant filed a response to the sentence modification report concurring with

probation’s recommendation. The government filed a response to the sentence modification report

concurring that defendant is eligible for a reduction, however, argues that any sentence modification

may be no less than the lowest end of the amended guideline range because the variance at the

original sentencing was not the result of a government motion to reflect the defendant’s substantial

assistance.

       Pursuant to the Sentence Modification Report, the defendant’s amended guideline range is

30 - 37 months. The Court finds that although defendant received a variance at the time of

sentencing, Application Note 3 of USSG § 1B1.10 states that a Court may not reduce the defendant’s

sentence below the new amended sentencing guideline range based upon variances or departures,

unless the departure is based on a substantial assistance motion brought by the government.

       NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

of sentence (ECF No. 813) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Frederick

May’s sentence shall be reduced to 30 months imprisonment, effective November 1, 2015. An order

effectuating the sentence reduction shall issue forthwith.



Dated: October 7, 2015                           /s/ Robert Holmes Bell
                                                 ROBERT HOLMES BELL
                                                 UNITED STATES DISTRICT JUDGE




                                                 2
